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                  IN THE UNITED STATES DISTRICT COURT                 F
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION
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             _ _ _ _ _ _ _ _ _ _ _ _ _::--MAy 2 0 2010
                                                                PATRICk; E DUfFy
UNITED STATES OF AMERICA,                                       B y ' CLERK
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                                             CR lO-II-BU-DWM.          '.   .RK MISSOULC'

                          Plaintiff,

            vs.                              FINDINGS & RECOMMENDATION
                                             CONCERNING PLEA


CHANTELLE STONE CEDILLO,

                          Defendant.


      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

II and has entered a plea of guilty to one count of conspiracy to distribute

methamphetamine in violation of 21 U.S.C. § 846 (Count I), as set forth in the

Indictment. In exchange for Defendant's plea, the United States has agreed to

dismiss Count II of the Indictment.

      After examining the Defendant under oath, I have made the following

determinations:

      I. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,

      2. That the Defendant is aware of the nature of the charge against her and

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consequences of pleading guilty to the charge,

      3. That the Defendant fully understands her constitutional rights, and the

extent to which she is waiving those rights, by pleading guilty, and,

      4. That the plea of guilty is a knowing and voluntary plea, supported by an

independent basis in fact sufficient to prove each of the essential elements of the

offense charged.

      The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that she fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of Count I of

the Indictment, and that sentence be imposed. I further recommend that Count II

of the Indictment be dismissed.

      This report is forwarded with the recommendation that the Court defer

a decision regarding acceptance until the Court has reviewed the Plea

Agreement and the presentence report.

      DATED this ~tlt day of May, 2010.


                                                      (

                                                            c.
                                       Je   iah C. Lynch
                                       U lted States Magistrate Judge

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